     Case 1:23-cr-00490-SHS       Document 125 _b,oiW,      "/0,
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                       Inner City Press
January 10, 2024
By E-mail to Chambers
Hon. Sidney H. Stein, United States District Judge
Southern District of New York, 500 Pearl Street, New York, NY 10007

Re: Press application to be heard/ to unseal Defendant's redacted Motion to
Dismiss and other documents placed in vault, in US v. Menendez, 23-cr-490 (SHS)
Dear Judge Stein:
  Inner City Press has been covering the above captioned criminal case and earlier
today saw Defendant Robert Menendez' redacted motion to dismiss memorandum
of law, as well as numerous "Sealed Document[s] placed in vault." This is a Press
application to be heard in opposition to the unilateral sealing and redaction of these
judicial documents.
  The memo of law, Dkt. No. 120, has a major redaction on page 5 about Senator
Menendez' trip to Egypt in the fall of 2021, arguing that "[t]he Government
shockingly fails to disclose the exculpatory fact that [REDACTION]." The
redaction is five pull and two partial lines, and is nowhere explained or justified.
There are similar redactions on pages 7, 8, 10, 11 -- "We now know why ...
[REDACTION]," 26, 31 and 33. Likewise, the third numbered paragraph of
defense counsel's declaration, Dkt. No. 121, which describes Exhibit B, which is
withheld, as is even Exhibit A.
 Also now contested are the "documents placed in vault" including but not limited
to Docket Numbers 124, 123, 122,109,108,107,104 and 103.
"Representatives of the press must be given an opportunity to be heard on the
question of their exclusion from a court proceeding, and we have recognized a
similar right of news media to intervene in this Court to seek unsealing of
documents filed in a court proceeding." Trump v. Deutsche Bank AG, 940 F.2d
146, 150 (2d Cir. 2019). This Court has previously granted an Inner City Press
request to unseal, in US v. Jen Shah, 19-cr-833 (SHS), see Dkt. No. 669.
   "The common law right of public access to judicial documents is firmly rooted
in our nation's history." Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119
(2d Cir. 2006).
Inner City Press: In-house SDNY: Room 480, 500 Pearl Street, NY NY 10007
E-mail: Matthew.Lee@innercitypress.com -Tel: 718-716-3540
Regular Mail: Dag Hammarskjold Center, Box 20047, New York, NY 10017
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  Please docket this challenge to the over-redaction of this sentencing
memorandum, as SDNY Judges Hellerstein, Castel, Caproni, Furman and others
have done. See, e.g.,
https ://storage. courtlistener. com/recap/gov. uscourts.nysd. 516151 /gov. uscourts.nys
d.516151.85.0.pdf- and see Inner City Press application to seal in this Court's
docket in US v. Jen Shah, 19-cr-833 (SHS), Dkt. No. 648 and Order that Defendant
response, Dkt. No. 649. Senator Menendez' case is of at least as much public
interest, and more public import, than that of Jen Shah and this secrecy cannot
stand.
 If appropriate, PLEASE TAKE NOTICE that Inner City Press and its undersigned
reporter, in personal capacity, will move this Court before Honorable Sidney H.
Stein, U.S. District Judge for the Southern District of New York, at a date and time
directed by the Court, for entry of an order granting permission to be heard on
sealing or unsealing of Defendant Robert Menendez' redacted motion to dismiss
memorandum of law, as well as numerous "Sealed Document[s] place in vault."
  If deemed necessary, this now is a request to intervene, see United States v. All
Funds on Deposit at Wells Fargo Bank, 643 F. Supp. 2d 577, 580 (S.D.N.Y. 2009)
      Please act on, and docket, this request, as soon as possible.
Thank you.
Respectfully submitted,
Isl
Matthew Russell Lee, Inner City Press
cc: adamfee@paulhastings.com, daniel.richenthal@usdoj.gov




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